                 Case 2:20-cv-01372-RSL Document 26 Filed 12/30/20 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13                                 UNITED STATES DISTRICT COURT
14                                WESTERN DISTRICT OF WASHINGTON
15                                          AT SEATTLE
16
17
18   GUSHCLOUD PTE LTD. et al.,                        No. 2:20-cv-01372-RSL
19
20                            Plaintiffs,              STIPULATION FOR DISMISSAL WITH
21                                                     PREJUDICE AND ORDER
22          v.
23
24   TRACY WILLIS et al.,
25
26                            Defendants.
27
28
29          Plaintiffs Gushcloud PTE LTD, Gushcloud International USA, Inc., and Gushcloud
30
31   Talent Agency, Inc., and Defendants Tracy Willis and WHE Agency, by and through their
32
33
34   respective undersigned counsel, hereby stipulate, in accordance with Fed. R. Civ. P.
35
36   41(a)(1)(A)(ii), to the dismissal, with prejudice, of this lawsuit, without an award of costs or
37
38   expenses to any party.
39
40
41
42
            //
43
44
45
46
47
48          //
49
50
51

     STIPULATION FOR DISMISSAL WITH PREJUDICE            OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     AND ORDER                                                   1201 Third Avenue, Suite 5150, Seattle, WA 98101
     (No. 2:20-cv-01372-RSL) – 1                                          Phone: 206-876-5301; Fax: 206-693-7058
               Case 2:20-cv-01372-RSL Document 26 Filed 12/30/20 Page 2 of 2




 1          Respectfully submitted this 29th day of December, 2020.
 2
 3
 4
     THE LITIGATION BOUTIQUE, LLC                       PERKINS COIE LLP
 5
     Leah VanLandschoot, pro hac vice                   Thomas L. Boeder, WSBA No. 408
 6
 7                                                      Thomas J. Tobin, WSBA No. 55189
 8
 9   s/ Leah P. VanLandschoot                           s/ Thomas J. Tobin
10   Leah P. VanLandschoot, pro hac vice                Thomas J. Tobin, WSBA No. 55189
11
12                                                      Attorneys for Defendants
13   OGLETREE, DEAKINS, NASH, SMOAK &
14   STEWART, P.C.
15
16   s/ Laurence A. Shapero
17   Laurence A. Shapero, WSBA No. 31301
18
19   Attorneys for Plaintiffs
20
21
22
23          IT IS SO ORDERED.
24
25
26          DATED this 30th day of December, 2020.
27
28
29
30
31
32
                                                              Robert S. Lasnik
33                                                            United States District Judge
34
35
36
37
38
39
40
41
42
43
44
45
46
47
48
49
50
51

     STIPULATION FOR DISMISSAL WITH PREJUDICE        OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     AND ORDER                                               1201 Third Avenue, Suite 5150, Seattle, WA 98101
     (No. 2:20-cv-01372-RSL) – 2                                      Phone: 206-876-5301; Fax: 206-693-7058
